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                                 UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF PUERTO RICO


       IN RE:                                                      LEAD CASE NO. 11-09962 BKT
                  VAQUERIA ALMEYDA, INC                            CHAPTER 12
                            DEBTOR
                                                                   CASE NO. 11-09963 BKT
                RAMON LUIS BARRETO GINORIO
                                                                   CHAPTER 12
                            DEBTOR


  AMENDED CHAPTER 12 PLAN- Dated November 29, 2012

  Debtors are amending their Chapter 12 plan to correct amount and treatment to secure creditor,
  Scotiabank.

          The above captioned debtor, Vaquería Almeyda, Inc. and Ramón Luis Barreto Ginorio by and

  through the undersigned counsel, hereby submits the following proposed amended plan of

  reorganization pursuant to the provisions of 11 U.S.C. Section 1201, et seq., and specifically to 11 U.S.C.

  Section 1222.

          Pursuant to the provisions of Sections 1222 of the Code, debtor proposes the classification and

  treatment of claims as hereinafter stated.

          Creditors and other parties in interest are urged to read and consider this amended Plan in its

  entirety since this represents a proposed legally binding agreement between the debtor, creditors and

  parties in interest.

                                                   ARTICLE I
                                                 DEFINITIONS
          For the purposes of this Plan of Reorganization, the following terms shall have the respective

  meanings set forth.

              1. “Administrative Creditor” shall mean a person entitled to payment of an

                  Administrative Expense Claim.

              2. “Administrative Expense Claim” shall mean any Claim constituting a cost or expense
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              of administration of the Chapter 12 proceedings allowed under 11 U.S.C. Sec. 503(b) and

              507(a)(1).

           3. “Allowed Claim” shall mean any Claim as allowed pursuant to 11 U.S.C §502. Unless

              otherwise provided for in this Plan, “Allowed Claim” shall not include interest, cost, fees,

              expenses or other charges on the principal amount of such Claim from after the Petition

              Date.

           4. “Allowed secured Claim” shall mean any Allowed Claim, which is a Secured Claim and

              shall include in the amount thereof – unless otherwise stated in this Plan – all interest

              accrued on or after the Petition Date, fees, costs, and charges as may be allowed.

           5. “Bankruptcy Code” or “Code” shall mean the provision of Title 11 of the United States

              Code, 11 U.S.C. Sections 1201 et seq., as amended from time to time.

           6. “Bankruptcy Court” shall mean the United States Bankruptcy Court for the District of

              Puerto Rico, having jurisdiction over this Chapter 12 proceeding.

           7. “Bankruptcy Rules” or “Rules” shall mean the Federal Rules of Bankruptcy

              Procedures, as amended from time to time.

           8. “Bar Date” shall mean the deadline of March 14, 2012, after which any proof of claim

              filed will not have any effect on this Plan and will not entitle its holder to participate

              with other Claims under this Plan.

           9. “Claim” shall mean any right to payment whether or not such right is reduced to

              judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,

              undisputed, legal, equitable, secured or unsecured; or any right to an equitable remedy

              for breach of performance if such breach gives rise to a right of payment, whether or not

              such right to an equitable remedy is reduced to judgment, fixed, contingent, matured,

              unmatured, disputed, undisputed, secured or unsecured.

           10. “Class” shall mean a category of holders of Claims or Interest that is substantially
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              similar to other claims or interest in such Class.

           11. “Confirmation Date” shall mean the date the Order of Confirmation in this Chapter 12

              proceeding and becomes a Final Order.

           12. “Consummation Date” shall mean the date by which all of the conditions precedent to

              full consummation set forth in this Plan, shall have be met or waived.

           13. “Creditor” shall mean any Person who has a Claim against the Debtor, which arose on or

              before the Petition Date or a Claim of any kind specified in 11 U.S.C. Sections 502(g),

              503(h) or 502(I).

           14. “Debtor” shall mean the individual, Vaquería Almeyda, Inc. and Ramón Luis Barreto

              Ginorio.

           15. “Effective Date of the Plan” shall mean forty-five (45) days after the order of

              confirmation of the plan, becomes a final order and shall be the date on which there

              shall be made all cash payments required by the Plan.

           16. “Estate” shall mean the property owned by the Debtor that comprises the Chapter 12

              estate of the Debtor in the above-captioned Chapter 12 proceeding.

           17. “Final Order” shall mean an Order of the Bankruptcy Court (or other court of

              appropriate jurisdiction) which shall not have been reversed, stayed, modified or

              amended and the time to appeal from or to seek review or rehearing of such order shall

              have expired, and about which, no appeal or petition for review or rehearing or

              certiorari proceedings is pending, as a result of which such Order shall have become

              final according to Rule 8002 of the Rules of Bankruptcy Procedure, as such Rules may be

              amended from time to time.

           18. “Lien” shall mean a mortgage, pledge, judgment lien, security interest, charging order,

              or other charge or encumbrance on Property as is effective under applicable law as of

              the Petition Date.
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           19. “Liquidation” shall mean the complete liquidation of the Property of Debtor’s Estate, by

              a duly appointed trustee, according to the provisions of Chapter 7 of the Bankruptcy

              Code.

           20. “Liquidation Analysis” shall mean the comparison of the current assets and liabilities

              of the Debtor, in order to determine the Liquidation Value of the Debtor’s Property.

           21. “Liquidation Value” shall mean the value that, any item of the Debtor’s Property could

              be expected to bring during Liquidation.

           22. “Order of Confirmation” shall mean the Order of the Bankruptcy Court confirming this

              Plan, pursuant to 11 U.S.C. § 1225.

           23. “Person” shall mean any individual, corporation, partnership, association, Joint Stock

              Company, trust, unincorporated organization, government or any political subdivision

              thereof, or other entity.

           24. “Petition Date” shall mean November 17, 2011 the date on which the Debtor’s filing of

              his Voluntary Petition commenced the instant Chapter 12 proceedings.

           25. “Priority Claim” shall mean any Allowed Claim, other than an Administrative Expense

              Claim or Priority Tax Claim, to the extent entitled to priority in payment under 11 U.S.C.

              Section 507(a).

           26. “Priority Creditor” shall mean any Creditor that is the holder of a Priority Claim.

           27. “Priority Tax Claim” shall mean any Allowed Claim of any Person who is entitled to a

              priority in payment under 11 U.S.C. Section 507(a)(8).

           28. “Priority Wage Claim” shall mean Allowed Claim of any Person who is entitled to a

              priority in payment under 11 U.S.C. Section 507(a)(3).

           29. “Property” shall mean the property of the Estate, which shall be administered by the

              Debtor or the Chapter 12 Trustee.

           30. “Pro Rata” shall mean in the same proportion that a Claim or Interest in a given Class
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                 bears to the aggregate amount of all Claims (including disputed Claim until allowed or

                 disallowed) or the aggregate number of all Interest in such Class.

             31. “Secured Claim” shall mean a Claim, the holder of which is vested with a perfected, non

                 voidable Lien on Property in which the Debtors have an interest, which Lien is valid,

                 perfected, and enforceable under applicable law and not subject to avoidance under the

                 Bankruptcy Code or other applicable non bankruptcy law, and is duly established in this

                 case, to the extent of the value of such holder’s interest in the Debtor’s interest in such

                 Property, as determined according to 11 U.S.C. Section 506.

             32. “Secured Creditor” shall mean a Creditor who has a Secured Claim.

             33. “Trustee” shall mean the standing Chapter 12 Trustee, Jose R. Carrion Morales, Esq.

             34. “Unsecured Claim” shall mean a Claim, which is other than an Administrative Expense

                 Claim, a Secured Claim or a Priority Claim (including a Priority Tax Claim or a Priority

                 Wage Claim), including any Claim specified in 11 U.S.C. Sections 502(g), 502(h) or

                 502(I).

             35. “Unsecured Creditor” shall mean a creditor that is a holder of an Allowed General

                 Unsecured Claim.

             36. “Vesting of Property” Upon full consummation of the plan, all of the property of the

                 chapter 12 estate shall vest in the debtor.

             37. “Voluntary Petition” shall mean the voluntary Petition for Relief filed by the Debtor on

                 the Petition Date.

                                           ARTICLE II
                           ASSETS AND LIABILITIES AS OF PETITION DATE

         The principal personal asset pertaining to this estate corresponds to the interest over the milk

  production rights comprised of 59,600 production liters with an approximate fair market value of

  $1,251,600.00. Debtor estimates the current fair market value of each liter in $21.00.

  A reconciliation of assets and projected realization in the event of a liquidation scenario in the
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  Liquidation Analysis enclosed as Exhibit D.

     1. ASSETS:

                       11-09962
                       VAQUERIA ALMEYDA
                       Personal Assets                                   Value
                       CASH ON HAND                                        $100.00
                       CHECKING ACCOUNT                                    $200.00
                       VEHICLES                                            $32,293
                       ACCOUNTS RECEIVABLE-INCENTIVE                       $25,000
                       MILK QUOTA                                       $1,209,600
                       MACHINERY                                        $57,500.00
                       ANIMALS                                         $435,500.00
                       TOTAL                                           $263,746.00

                       11-09963
                       RAMON L BARRETO GINORIO
                       CASH ON HAND                                         $20.00
                       CHECKING ACCOUNT                                      $0.00
                       HOUSEHOLD GOODS                                    $20,000
                       WEARING APPAREL                                       $400
                       VEHICLES                                         $27,500.00
                       TOTAL                                           $657,938.00

                                   PROPERTY
                       PROPERTY 1-LOT OF LAND                         $52,500.00
                       PROPERTY 2-LOT OF LAND                         $170,000.00
                       PROPERTY 3-LOT OF LAND                         $200,000.00
                       TOTAL                                          $422,500.00

     2. LIABILITIES:

         Debtor’s schedules of liabilities as referenced to the schedules and proof of claims filed in this

  case indicated that secured claims approximate $1,813,913.77. Unsecured priority claims under 11

  U.S.C. § 507(a) (8) approximate $16,268.80. General unsecured creditors approximate $10,000.00.


                                       ARTICLE III
                                 DESIGNATION OF CLAIMS
                       TREATMENT FOR CLASSES OF CLAIMS AND INTEREST

          CLASS 1 – TRUSTEE ADMINISTRATIVE

                 The Chapter 12 trustee shall receive and retain as the trustee’s percentage fee under this
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         plan an amount equal to ten percent (10%) of all payments distributed by the trustee pursuant

         to the plan with respect to payments in an aggregate amount not to exceed $450,000.00, three

         percent (3%) of all payments distributed by the trustee pursuant to the plan with respect to

         payments in an aggregate amount higher than the $450,000.01 but in excess of $1,000,000.00

         and reasonable compensation not to exceed three percent (3%) of all payments distributed by

         the trustee pursuant to the plan with respect to payments in an aggregate amount that exceeds

         the before mentioned amount of $1,000,000.00.



         CLASS 2 – ADMINISTRATIVE EXPENSES

                Shall consist of Allowed Administrative Expense Claims, as provided under Section 503

         of the Code. This class shall be paid by the trustee in cash and in full as soon as practicable, on

         the later of (a) the Effective Date or (b) during the first year following the confirmation of the

         plan. These payments will be made by the Chapter 12 trustee.



        CLASS 3 – BANCO POPULAR PUERTO RICO – SECURED CLAIMS

                This creditor’s legal and equitable interest on the secured amounts will be modified

        upon the confirmation of this plan. Considering the value of the properties serving as collateral

        for this claim, the secured amount under this class as of the date of filing of the instant petition

        shall be fixed in the amount of $1,391,553.08. This amount will be paid as follows:

        Debt Balance Restructuring Upon Confirmation – On the effective date of the plan, the

        outstanding secured debt of this creditor, considering interim payments due to this creditor and

        of the turnover real and personal property as described herein will be restructured into an

        installment payment plan calling for consecutive monthly payments to pay the secured amount

        determined herein in cash and in full. The outstanding secured balance has been estimated in

        $1,391,553.08. Debtor, also, proposes with the confirmation of the plan to consolidate all of
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        these loans into one loan.

        This consolidated loan from January 2013 to December 2017 will receive monthly payments

        of principal and interest of $7,500.00. These payments will be made directly to Creditor

        through Vaquería Tres Monjitas, Inc. Refer to Schedule of Payments under the Plan of

        Reorganization enclosed herein as Exhibit A, Payment Plan as Exhibit A-1, Special Provisions as

        Exhibit A-2 and the loan calculator table enclosed herein as Exhibit B. See Exhibit E Current

        Prime Interest Rate.

                After these sixty (60) months have elapsed, the outstanding balance will be around of

        $1,148,818.77. Upon completion of this term, meaning January 2017, Debtors will make

        monthly payments of $8,500.00 at an interest rate of 3.75%. These payments will be made

        from January 2017 up until December 2019.

                After these twenty-four (24) months have elapsed, the outstanding balance will be

        around of $1,026,646.69. Upon completion of this term, meaning January 2020, Debtors will

        make a Balloon payment for the remaining amount of the obligation payable as of January 15,

        2020. Depending on the floating interest rate and any recapture, the Balloon payment will be

        approximately of $1,026,646.69.

                Chapter 12 Plan’s treatment of BPPR shall include the following terms and conditions:

                a.         In case of any failure to comply, Debtors will provide for the payment of the

        unpaid balance of the principal amount plus a floating interest rate of 3.00% over Prime Rate, as

        constituting a default interest rate. The Bank retains all rights to seek additional remedies in

        case of default.

                b.         During the term of the restructuring, BPPR shall receive payments directly from

        Vaquería Tres Monjitas, Inc., in accordance with an assignment of the proceeds of milk

        production in the amounts set forth.

                c.         In addition, the Debtors will hold a yearly meeting with BPPR during the month
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        of January to discuss Debtors’ operations and compliance with the terms agreed to.

                  e.    Banco Popular may take any action necessary during the term of the Plan in

        order to maintain as valid its existing, perfected security interests over real and personal

        property of the Debtors, and the loan documents, through and including January 2020. The

        consolidation of the loan relationships set forth herein as part of the Plan are not, and are not

        intended to be, a novation of loan no. 2294737-9011 and loan no. 2294737-0999/0001. The

        Plan as composed extends these loans through January 2020. . Therefore, the Debtors will

        provide their consent and cooperation as to any request by Banco Popular to maintain as valid

        its loan documents and its existing perfected security interests over Debtors’ real and personal

        property. Except as set forth herein, Banco Popular will retain unaltered the legal and

        contractual rights over the property serving as collateral until full payment of the secured

        amount as detailed in the plan. In case of any default under the Chapter 12 plan leading to the

        dismissal of the case, the restructuring of the loan obligations as expressed herein shall be of no

        force and effect. In that event, the original terms of the loan obligations shall prevail. Upon any

        failure of Debtors to abide by the terms herein stipulated during two consecutive months

        occurring after December 2017, shall cause the terms herein expressed to be of no force and

        effect.

                  f.    Upon request by Banco Popular, Debtors will provide the Bank true and exact

        copies of any statements or liquidation of its milk production including but not limited to any

        statement furnished by the processing plan until full payment of the secured amount as detailed

        in the plan.

                  g.    Upon request by Banco Popular, Debtor shall also provide BPPR with any

        financial statements or operating reports so requested by BPPR, including weekly, monthly or

        annual financial statements or reports.

                  h.    Debtors will retain the services of the Puerto Rico Dairy Herd Improvement
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        Association, Inc. (PRDHIA), and shall supply Banco Popular with a copy of the monthly reports

        generated by the PRDHIA. Debtors shall remain enrolled with PRDHIA through December

        2017.

                If at any moment, Debtors decide to sale or refinance there will be no penalties as to the

        unpaid balance.

                Regarding the security agreements over personal property, this creditor will retain

        unaltered the legal and contractual rights over the property serving as collateral until full

        payment of the secured amount as detailed in the plan, except to the assignment of the milk

        production payments paid weekly by Vaquería Tres Monjitas, Inc.

                Any additional amount due to this creditor in excess of the secured amounts, as stated

        herein, shall be deemed as general unsecured claim, with this remaining amount included within

        class 10 of the plan.



        CLASS 4 –SCOTIABANK DE PUERTO RICO –POC #2 SECURED

                This creditor’s legal and equitable interest on the secured amounts will be modified

        upon the confirmation of this plan. Considering the value of the property serving as collateral

        for this claim, the secured amount under this class as of the date of filing of the instant petition

        shall be fixed in the amount of $149,819.13. This amount will be paid as follows:

        Debt Balance Restructuring Upon Confirmation – On the effective date of the plan, the

        outstanding secured debt of this creditor, considering interim payments due to this creditor and

        of the turnover real and personal property as described herein will be restructured into an

        installment payment plan calling for consecutive monthly payments to pay the secured amount

        determined herein in cash and in full. The outstanding secured balance has been estimated in

        $149,819.13. This loan from January 2013 to December 2017 will receive monthly payments

        of principal and interest. The payments to be receiving by this creditor monthly will be $649.62
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        to be applied to interest and principal at an interest rate of 3.25% and amortizing over a period

        of thirty (30) years. This payment will be made through the Chapter 12 Trustee. Refer to

        Schedule of Payments under the Plan of Reorganization enclosed herein as Exhibit A, Payment

        Plan as Exhibit A-1, Special Provisions as Exhibit A-2 and the loan calculator table enclosed

        herein as Exhibit C. See Exhibit E Current Prime Interest Rate.

                After these sixty (60) months have elapsed, the outstanding balance will be around of

        $133,954.86 will be covered over the next fifteen (15) years with a fixed interest of 3.75%.

        The amortization will be over the mentioned fifteen (15) years, payable in monthly

        installments of no more than $974.15 to be applied to principal and interest. This amount will

        be paid for the next one hundred eighty (180) months from January 2017 up to its maturity

        on or before December 2032.

                In addition, during the term of the mortgage loan, the Debtor will pay the

        insurance and the taxes of the property owed to CRIM. If the Debtors default on two or

        more payments of the mortgage modification, the modification will be withdrawn and the

        loan will revert to its original terms as if.

                If at any moment, Debtors decide to sale or refinance there will be no penalties as to the

        unpaid balance.

                Regarding the security agreements over personal property, this creditor will retain

        unaltered the legal and contractual rights over the property serving as collateral until full

        payment of the secured amount as detailed in the plan, except to the assignment of the milk

        production payments paid weekly by Vaquería Tres Monjitas, Inc.

                The payments proposed derive from the milk production proceeds remitted to this

        creditor from the Chapter 12 Trustee. Any additional amount due to this creditor in excess of

        the secured amounts, as stated herein, shall be deemed as general unsecured claim, with this

        remaining amount included within class 10 of the plan.
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        CLASS 5 –PUERTO RICO FARM CREDIT AGENCY –CLAIM NOT FILED

                Considering the value of the property serving as collateral for this claim, the secured

        amount under this class as of the date of filing of the instant petition is in the amount of

        $11,384.78. This creditor will continue receiving payments in the amount of $500.00 through

        Vaquería Tres Monjitas, Inc. up to its maturity date.

                If at any moment, Debtors decide to sale or refinance there will be no penalties as to the

        unpaid balance.

                Regarding the security agreements over personal property, this creditor will retain

        unaltered the legal and contractual rights over the property serving as collateral until full

        payment of the secured amount as detailed in the plan, except to the assignment of the milk

        production payments paid weekly by Vaquería Tres Monjitas, Inc. Any additional amount due to

        this creditor in excess of the secured amounts, as stated herein, shall be deemed as general

        unsecured claim, with this remaining amount included within class 10 of the plan.



        CLASS 6 - BANCO BILBAO VIZCAYA ARGENTARIA“BBVA” – POC #6&8

                This creditor’s legal and equitable interest on the secured amount will be modified upon

        the confirmation of this plan. Considering the value of the Milk Quota serving as collateral for

        this claim, the secured amount under this class as of the date of filing of the instant petition shall

        be fixed in the amount of $83,500.00 as per stipulated in the joint motion. This amount will be

        paid from the sale of 8,000 litters of the Milk Quota.

                 Debtors with the proceeds of the sale of 2,000 liters paid the sum of $36,000.00 to BBVA

        which were to be discounted from the amount of $83,500.00. Docket NO. 165.

                The amount owe to BBVA is $47,500.00 which will be paid off with the sale of the

        remaining 6,000 liters of milk quota.
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       CLASS 7 – PAN AMERICAN GRAIN POC #1

                This creditor’s legal and equitable interest on the secured amounts will be modified

        upon the confirmation of this plan. Considering the value of the property serving as collateral

        for this claim, the secured amount under this class as of the date of filing of the instant petition

        shall be fixed in the amount of $118,804.72. This amount will be paid as follows:

        Debt Balance Restructuring Upon Confirmation – On the effective date of the plan, the

        outstanding secured debt of this creditor, considering interim payments due to this creditor and

        of the turnover real and personal property as described herein will be restructured into an

        installment payment plan calling for consecutive monthly payments to pay the secured amount

        determined herein in cash and in full. The outstanding secured balance has been estimated in

        $118,804.72. This loan from January 2013 to December 2017 will receive monthly payments

        of principal and interest. The payments to be receiving by this creditor monthly will be $500.00

        to be applied to interest and principal at an interest rate of 3.25% and amortizing over a period

        of thirty (30) years. This payment will be made through the Chapter 12 Trustee. Refer to

        Schedule of Payments under the Plan of Reorganization enclosed herein as Exhibit A, Payment

        Plan as Exhibit A-1, Special Provisions as Exhibit A-2 and the loan calculator table enclosed

        herein as Exhibit C. See Exhibit E Current Prime Interest Rate.

                After these sixty (60) months have elapsed, the outstanding balance will be around of

        $105,216.62 will be covered over the next fifteen (15) years with a fixed interest of 3.75%.

        The amortization will be over the mentioned fifteen (15) years, payable in monthly

        installments of no more than $729.82 to be applied to principal and interest. This amount will

        be paid for the next one hundred eighty (180) months from January 2017 up to its maturity

        on or before December 2032.

                If at any moment, Debtors decide to sale or refinance there will be no penalties as to the

        unpaid balance.
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                Regarding the security agreements over personal property, this creditor will retain

        unaltered the legal and contractual rights over the property serving as collateral until full

        payment of the secured amount as detailed in the plan, except to the assignment of the milk

        production payments paid weekly by Vaquería Tres Monjitas, Inc.

                The payments proposed derive from the milk production proceeds remitted to this

        creditor from the Chapter 12 Trustee. Any additional amount due to this creditor in excess of

        the secured amounts, as stated herein, shall be deemed as general unsecured claim, with this

        remaining amount included within class 10 of the plan.



        CLASS 8 – PAYMENT OF SECURED CLAIMS

        Creditor, Internal Revenue Services, filed proof of claim #3 in the amount of $11,498.42 and

        proof of claim #1 for $19,007.51 as secured. This class total amount is $30,505.93. This class

        will be pay by Debtors through the Chapter 12 Trustee.



       CLASS 9 - PAYMENT OF UNSECURED PRIORITY CLAIMS

        As per proof of claims filed by creditors,

            • Internal Revenue Service filed proof of claim #3($13,951.09) and #1($2,954.51) for the

                total amount of $16,905.60.

            •   State Insurance Fund filed proof of claim #7 for the amount of $6,547.47.

            • Department of Treasury filed proof of claim #9 for the amount of $4,002.14.

                The present value of these debts is $27,455.21 and will be pay through the Chapter 12

                Trustee.



        CLASS 10 - GENERAL UNSECURED CREDITORS

                General unsecured creditors considering those listed by Debtors, those who filed a proof
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          of claim and those secured creditors, who after Debtor’s estimates reached by Debtors have

          agreed to be considered part of their claim as unsecured, are included in this class. This class

          will be pay through the Chapter 12 Trustee.

                   The debt under this class has been estimated by Debtors in the amount of no more

          than $11,158.50 including present value. This class will receive 100% plus interest of

          3.25%.

                                                ARTICLE IV
                                   PAYMENT OF UNSECURED PRIORITY CLAIMS
                                      UNDER 11 U.S.C. SECTION 507(a) (8)

          All allowed unsecured priority claims pursuant to 11 U.S.C. § 507(a)(8) of the Code, as the same

  are allowed, approved and ordered to be paid by the Court, will be paid as stated below. Debtor

  estimates the debt as follows:

      •   Internal Revenue Service: $16,268.80 (Priority Portion).

      •   State Insurance Fund filed proof of claim #7 for the amount of $6,547.47(Priority Portion).

      •   Department of Treasury filed proof of claim #9 for the amount of $4,002.14(Priority Portion).

          All allowed unsecured priority claims, pursuant to 11 U.S.C. § 507(a)(8) of the Code, as the same

          are allowed, approved and ordered to be paid by the Court, shall be paid by the Chapter 12

          Trustee through monthly installments commencing on the effective date and after the date of

          confirmation of the plan. The funds will be obtained from the Debtor’s dairy farm operation on

          the basis of consecutive installments remitted biweekly and directly from Vaquería Tres

          Monjitas, Inc. Refer to Schedule of Payments under the Plan of Reorganization enclosed herein

          as Exhibit A, Payment Plan as Exhibit A-1 and Special Provisions as Exhibit A-2.

                                                  ARTICLE V
                                              PENDING LITIGATION

          Debtor states that, as of this date, to the best knowledge and belief there is no pending or

  threatened litigation that may affect the liability or asset composition of their personal business.
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                                             ARTICLE VI
                            MEANS OF EXECUTION OF THE PLAN AND FEASIBILITY

          Debtor shall have sufficient funds to make all payments then due under this Plan. The funds will

  be obtained from Debtor’s dairy farm operation. A set of business projections, will be filed as Exhibit G.

          On the Consummation Date of the plan, the operation of the named business, all estate assets and

  allowed claims and valid liens, as set forth in the plan, shall be and become the general responsibility of

  the reorganized debtors, which shall thereafter have the responsibility for the management, control and

  administration thereof.

          Management of debtors’ affairs, collection of moneys and distribution to creditors, will be under

  the control and supervision of the reorganized debtor, which will assume the same role the debtor in

  possession have assume through this reorganization process.

                                                  ARTICLE VII
                                              DISCHARGE OF CLAIMS

          Except as otherwise provided for in this Chapter 12 Plan or in the Order of Confirmation, the

  rights granted by this Plan and the payment and distributions to be made hereunder, shall be in

  complete exchange for, and in full satisfaction, discharge and release of, all existing debts and claims of

  any kind, nature or description whatsoever against the Debtor.

          Upon completing all conditions precedent to the consummation of this plan, all existing claims

  shall be deemed to be exchanged, satisfied, discharged and release in full; and all holders of claims shall

  be precluded from asserting any other or future claim based upon any act or omission, transaction or

  other activity of any kind or nature that occurred prior to the Consummation Date, whether or not such

  holder filed a proof of claim. Upon full payment of the amounts compromised and detailed herein,

  secured creditors will turnover to the debtor for cancellation purposes of promissory notes

  encumbering personal and real property pertaining to this estate.

          The order of confirmation of the Plan shall constitute an injunction against the pursuit of any

  claim or Equity Interest, whether or not a proof of claim or proof of interest based on any such debt,
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  liability, or interest is filed or deemed filed, under 11 U.S.C. 501, such claim is allowed under 11 U.S.C.

  502 or the holder of such claim has accepted this Plan in the manner set forth herein.

                                                  ARTICLE VIII
                                              OBJECTIONS TO CLAIMS

          The debtor, the trustee, both at their option, or upon order of the Bankruptcy Court, if requested,

  may file an objection to any claim as to its validity or amount before the closing of the case. If an

  objection is made, payment to such claimants will be made only after the entry of a final order by the

  Court allowing such claim and in accordance with the provisions of the Plan governing such class to

  which such claims belongs.

          The claim of any general unsecured creditor who fails to file a proof of claim or that files its claim

  after the fixed claims bar date be disallowed by confirmation hearing.

                                                   ARTICLE IX
                                              EXECUTORY CONTRACTS

          Except as stated herein, debtor assumes all unexpired leases and executory contracts to which it

  is a party and which have not been expressly rejected pursuant to 11 U.S.C. Section 365(a). Specifically,

  debtor has assumed throughout the bankruptcy proceedings the following contracts:

              a. Vaquería Tres Monjitas, Inc.: Milk Production Contract.

              b. Juan Amador Gutiérrez: Lease of Lot of Land

              c.   Autoridad de Tierras: Lease of Lot of Land

                                           ARTICLE X
                          PROVISIONS FOR THE MODIFICATION OF THE PLAN

          The debtor may propose amendments or modifications of this Plan at any time prior to its

  confirmation pursuant to 11 U.S.C. 1223. After confirmation of the Plan, the Reorganized Debtor may,

  with the approval of the Court and as long as it does not adversely affect the interest of the creditors,

  remedy any defect or omission, in such manner as may be necessary to carry out the purposes and

  effects of the same.
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                                               ARTICLE XI
                                           CLOSING OF THE CASE

           At such time as the case has been fully consummated, this case shall be closed. In order for the

  case to be close, the trustee shall file a final report and account showing that the case has been fully

  administered and the Plan has been fully consummated. The Court may conduct a hearing upon

  application thereof and after notice to all creditors and parties in interest. Thereafter an order

  approving the trustee’s report and closing of the case shall be entered.

                                          ARTICLE XII
                              COMPLIANCE WITH LAWS AND GOOD FAITH

           Debtor believes that the plan complies with all provisions of chapter 12 and any other applicable

  provision of the Bankruptcy Code, that the plan has been proposed in good faith and not by any means

  forbidden by law, and that all fees, charges or amounts required to be paid before confirmation have

  been paid.

                                              ARTICLE XIII
                                         CHAPTER 7 COMPARISON

           Based upon the values of the debtor’s assets and the amount of secured and unsecured claims as

  set forth in the debtor’s chapter 12 statement, the debtor believes that the value, as of the effective date

  of the plan, of property to be distributed under the plan on account of each estate of the debtor were

  liquidated under chapter 7 of the Bankruptcy Code. Refer to Liquidation Analysis enclosed as Exhibit D.



                                            ARTICLE XIV
                                      RETENTION OF JURISDICTION

           The Bankruptcy Court shall retain jurisdiction over this case as is conferred upon it by law, rule

  or statute, or by this Plan, to enable the debtor to consummate any and all proceedings which they may

  bring before or after the entry of the order of confirmation, in order to carry out the provisions of this

  Plan, specifically meaning until payment of all creditors as listed in the Treatment of Classes, Article IV,

  supra.
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  RESPECTFULLY SUMITTED,

        In Caguas, Puerto Rico, this 29th day of November of 2012.

                                       GRATACOS LAW OFFICE
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                                       CAGUAS, PR 00726
                                       PHONE: (787) 746-4772 & FAX: (787) 746-3633
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                                       /s/ Víctor Gratacós-Díaz (127906)
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                                                                                               EXHIBIT A
                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF PUERTO RICO

      IN RE:
                                                                  LEAD CASE NO. 11-09962 BKT
                 VAQUERIA ALMEYDA, INC
                                                                  CHAPTER 12
                          DEBTOR

                                                                  CASE NO. 11-09963 BKT
               RAMON LUIS BARRETO GINORIO
                                                                  CHAPTER 12
                          DEBTOR



        AMENDED PAYMENT PROPOSAL TO:

        CLASS 3 – BANCO POPULAR PUERTO RICO – SECURED CLAIMS
                 This creditor’s legal and equitable interest on the secured amounts will be modified
        upon the confirmation of this plan. Considering the value of the properties serving as collateral
        for this claim, the secured amount under this class as of the date of filing of the instant petition
        shall be fixed in the amount of $1,391,553.08. This amount will be paid as follows:
        Debt Balance Restructuring Upon Confirmation – On the effective date of the plan, the
        outstanding secured debt of this creditor, considering interim payments due to this creditor and
        of the turnover real and personal property as described herein will be restructured into an
        installment payment plan calling for consecutive monthly payments to pay the secured amount
        determined herein in cash and in full. The outstanding secured balance has been estimated in
        $1,391,553.08. Debtor, also, proposes with the confirmation of the plan to consolidate all of
        these loans into one loan.
        This consolidated loan from January 2013 to December 2017 will receive monthly payments
        of principal and interest of $7,500.00. These payments will be made directly to Creditor
        through Vaquería Tres Monjitas, Inc. Refer to Schedule of Payments under the Plan of
        Reorganization enclosed herein as Exhibit A, Payment Plan as Exhibit A-1, Special Provisions as
        Exhibit A-2 and the loan calculator table enclosed herein as Exhibit B. See Exhibit E Current
        Prime Interest Rate.
                 After these sixty (60) months have elapsed, the outstanding balance will be around of
        $1,148,818.77. Upon completion of this term, meaning January 2017, Debtors will make
        monthly payments of $8,500.00 at an interest rate of 3.75%. These payments will be made
        from January 2017 up until December 2019.
                 After these twenty-four (24) months have elapsed, the outstanding balance will be
        around of $1,026,646.69. Upon completion of this term, meaning January 2020, Debtors will
        make a Balloon payment for the remaining amount of the obligation payable as of January 15,
        2020. Depending on the floating interest rate and any recapture, the Balloon payment will be
        approximately of $1,026,646.69.
                 Chapter 12 Plan’s treatment of BPPR shall include the following terms and conditions:
                 a.       In case of any failure to comply, Debtors will provide for the payment of the
        unpaid balance of the principal amount plus a floating interest rate of 3.00% over Prime Rate, as
        constituting a default interest rate. The Bank retains all rights to seek additional remedies in
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        case of default.
                 b.       During the term of the restructuring, BPPR shall receive payments directly from
        Vaquería Tres Monjitas, Inc., in accordance with an assignment of the proceeds of milk
        production in the amounts set forth.
                 c.       In addition, the Debtors will hold a yearly meeting with BPPR during the month
        of January to discuss Debtors’ operations and compliance with the terms agreed to.
                 e.       Banco Popular may take any action necessary during the term of the Plan in
        order to maintain as valid its existing, perfected security interests over real and personal
        property of the Debtors, and the loan documents, through and including January 2020. The
        consolidation of the loan relationships set forth herein as part of the Plan are not, and are not
        intended to be, a novation of loan no. 2294737-9011 and loan no. 2294737-0999/0001. The
        Plan as composed extends these loans through January 2020. . Therefore, the Debtors will
        provide their consent and cooperation as to any request by Banco Popular to maintain as valid
        its loan documents and its existing perfected security interests over Debtors’ real and personal
        property. Except as set forth herein, Banco Popular will retain unaltered the legal and
        contractual rights over the property serving as collateral until full payment of the secured
        amount as detailed in the plan. In case of any default under the Chapter 12 plan leading to the
        dismissal of the case, the restructuring of the loan obligations as expressed herein shall be of no
        force and effect. In that event, the original terms of the loan obligations shall prevail. Upon any
        failure of Debtors to abide by the terms herein stipulated during two consecutive months
        occurring after December 2017, shall cause the terms herein expressed to be of no force and
        effect.
                 f.       Upon request by Banco Popular, Debtors will provide the Bank true and exact
        copies of any statements or liquidation of its milk production including but not limited to any
        statement furnished by the processing plan until full payment of the secured amount as detailed
        in the plan.
                 g.       Upon request by Banco Popular, Debtor shall also provide BPPR with any
        financial statements or operating reports so requested by BPPR, including weekly, monthly or
        annual financial statements or reports.
                 h.       Debtors will retain the services of the Puerto Rico Dairy Herd Improvement
        Association, Inc. (PRDHIA), and shall supply Banco Popular with a copy of the monthly reports
        generated by the PRDHIA. Debtors shall remain enrolled with PRDHIA through December
        2017.
                 If at any moment, Debtors decide to sale or refinance there will be no penalties as to the
        unpaid balance.
                 Regarding the security agreements over personal property, this creditor will retain
        unaltered the legal and contractual rights over the property serving as collateral until full
        payment of the secured amount as detailed in the plan, except to the assignment of the milk
        production payments paid weekly by Vaquería Tres Monjitas, Inc.
                 Any additional amount due to this creditor in excess of the secured amounts, as stated
        herein, shall be deemed as general unsecured claim, with this remaining amount included within
        class 10 of the plan.

        CLASS 4 –SCOTIABANK DE PUERTO RICO –POC #2 SECURED
                 This creditor’s legal and equitable interest on the secured amounts will be modified
        upon the confirmation of this plan. Considering the value of the property serving as collateral
        for this claim, the secured amount under this class as of the date of filing of the instant petition
        shall be fixed in the amount of $149,819.13. This amount will be paid as follows:
        Debt Balance Restructuring Upon Confirmation – On the effective date of the plan, the
        outstanding secured debt of this creditor, considering interim payments due to this creditor and
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        of the turnover real and personal property as described herein will be restructured into an
        installment payment plan calling for consecutive monthly payments to pay the secured amount
        determined herein in cash and in full. The outstanding secured balance has been estimated in
        $149,819.13. This loan from January 2013 to December 2017 will receive monthly payments
        of principal and interest. The payments to be receiving by this creditor monthly will be $649.62
        to be applied to interest and principal at an interest rate of 3.25% and amortizing over a period
        of thirty (30) years. This payment will be made through the Chapter 12 Trustee. Refer to
        Schedule of Payments under the Plan of Reorganization enclosed herein as Exhibit A, Payment
        Plan as Exhibit A-1, Special Provisions as Exhibit A-2 and the loan calculator table enclosed
        herein as Exhibit C. See Exhibit E Current Prime Interest Rate.
                After these sixty (60) months have elapsed, the outstanding balance will be around of
        $133,954.86 will be covered over the next fifteen (15) years with a fixed interest of 3.75%.
        The amortization will be over the mentioned fifteen (15) years, payable in monthly
        installments of no more than $974.15 to be applied to principal and interest. This amount will
        be paid for the next one hundred eighty (180) months from January 2017 up to its maturity
        on or before December 2032.
                In addition, during the term of the mortgage loan, the Debtor will pay the
        insurance and the taxes of the property owed to CRIM. If the Debtors default on two or
        more payments of the mortgage modification, the modification will be withdrawn and the
        loan will revert to its original terms as if.
                If at any moment, Debtors decide to sale or refinance there will be no penalties as to the
        unpaid balance.
                Regarding the security agreements over personal property, this creditor will retain
        unaltered the legal and contractual rights over the property serving as collateral until full
        payment of the secured amount as detailed in the plan, except to the assignment of the milk
        production payments paid weekly by Vaquería Tres Monjitas, Inc.
                The payments proposed derive from the milk production proceeds remitted to this
        creditor from the Chapter 12 Trustee. Any additional amount due to this creditor in excess of
        the secured amounts, as stated herein, shall be deemed as general unsecured claim, with this
        remaining amount included within class 10 of the plan.

        CLASS 5 –PUERTO RICO FARM CREDIT AGENCY –CLAIM NOT FILED
                Considering the value of the property serving as collateral for this claim, the secured
        amount under this class as of the date of filing of the instant petition is in the amount of
        $11,384.78. This creditor will continue receiving payments in the amount of $500.00 through
        Vaquería Tres Monjitas, Inc. up to its maturity date.
                If at any moment, Debtors decide to sale or refinance there will be no penalties as to the
        unpaid balance.
                Regarding the security agreements over personal property, this creditor will retain
        unaltered the legal and contractual rights over the property serving as collateral until full
        payment of the secured amount as detailed in the plan, except to the assignment of the milk
        production payments paid weekly by Vaquería Tres Monjitas, Inc. Any additional amount due to
        this creditor in excess of the secured amounts, as stated herein, shall be deemed as general
        unsecured claim, with this remaining amount included within class 10 of the plan.

        CLASS 6 - BANCO BILBAO VIZCAYA ARGENTARIA“BBVA” – POC #6&8
                 This creditor’s legal and equitable interest on the secured amount will be modified upon
        the confirmation of this plan. Considering the value of the Milk Quota serving as collateral for
        this claim, the secured amount under this class as of the date of filing of the instant petition shall
        be fixed in the amount of $83,500.00 as per stipulated in the joint motion. This amount will be
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        paid from the sale of 8,000 litters of the Milk Quota.
                Debtors with the proceeds of the sale of 2,000 liters paid the sum of $36,000.00 to BBVA
        which were to be discounted from the amount of $83,500.00. Docket NO. 165.
                The amount owe to BBVA is $47,500.00 which will be paid off with the sale of the
        remaining 6,000 liters of milk quota.

       CLASS 7 – PAN AMERICAN GRAIN POC #1
                 This creditor’s legal and equitable interest on the secured amounts will be modified
        upon the confirmation of this plan. Considering the value of the property serving as collateral
        for this claim, the secured amount under this class as of the date of filing of the instant petition
        shall be fixed in the amount of $118,804.72. This amount will be paid as follows:
        Debt Balance Restructuring Upon Confirmation – On the effective date of the plan, the
        outstanding secured debt of this creditor, considering interim payments due to this creditor and
        of the turnover real and personal property as described herein will be restructured into an
        installment payment plan calling for consecutive monthly payments to pay the secured amount
        determined herein in cash and in full. The outstanding secured balance has been estimated in
        $118,804.72. This loan from January 2013 to December 2017 will receive monthly payments
        of principal and interest. The payments to be receiving by this creditor monthly will be $500.00
        to be applied to interest and principal at an interest rate of 3.25% and amortizing over a period
        of thirty (30) years. This payment will be made through the Chapter 12 Trustee. Refer to
        Schedule of Payments under the Plan of Reorganization enclosed herein as Exhibit A, Payment
        Plan as Exhibit A-1, Special Provisions as Exhibit A-2 and the loan calculator table enclosed
        herein as Exhibit C. See Exhibit E Current Prime Interest Rate.
                 After these sixty (60) months have elapsed, the outstanding balance will be around of
        $105,216.62 will be covered over the next fifteen (15) years with a fixed interest of 3.75%.
        The amortization will be over the mentioned fifteen (15) years, payable in monthly
        installments of no more than $729.82 to be applied to principal and interest. This amount will
        be paid for the next one hundred eighty (180) months from January 2017 up to its maturity
        on or before December 2032.
                 If at any moment, Debtors decide to sale or refinance there will be no penalties as to the
        unpaid balance.
                 Regarding the security agreements over personal property, this creditor will retain
        unaltered the legal and contractual rights over the property serving as collateral until full
        payment of the secured amount as detailed in the plan, except to the assignment of the milk
        production payments paid weekly by Vaquería Tres Monjitas, Inc.
                 The payments proposed derive from the milk production proceeds remitted to this
        creditor from the Chapter 12 Trustee. Any additional amount due to this creditor in excess of
        the secured amounts, as stated herein, shall be deemed as general unsecured claim, with this
        remaining amount included within class 10 of the plan.

        CLASS 8 – PAYMENT OF SECURED CLAIMS
        Creditor, Internal Revenue Services, filed proof of claim #3 in the amount of $11,498.42 and
        proof of claim #1 for $19,007.51 as secured. This class total amount is $30,505.93. This class
        will be pay by Debtors through the Chapter 12 Trustee.

       CLASS 9 - PAYMENT OF UNSECURED PRIORITY CLAIMS
        As per proof of claims filed by creditors,
            • Internal Revenue Service filed proof of claim #3($13,951.09) and #1($2,954.51) for the
                total amount of $16,905.60.
            • State Insurance Fund filed proof of claim #7 for the amount of $6,547.47.
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            • Department of Treasury filed proof of claim #9 for the amount of $4,002.14.
              The present value of these debts is $27,455.21 and will be pay through the Chapter 12
              Trustee.

        CLASS 10 - GENERAL UNSECURED CREDITORS
                General unsecured creditors considering those listed by Debtors, those who filed a proof
        of claim and those secured creditors, who after Debtor’s estimates reached by Debtors have
        agreed to be considered part of their claim as unsecured, are included in this class. This class
        will be pay through the Chapter 12 Trustee.
                The debt under this class has been estimated by Debtors in the amount of no more
        than $11,158.50 including present value. This class will receive 100% plus interest of
        3.25%.
